         Case 2:23-cv-00238-WB Document 37 Filed 05/15/23 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF PENNSYLVANIA

THE SCHOOL DISTRICT OF                       )
PHILADELPHIA,                                )
                                             )
                       Plaintiff,            )
                                             )       CIVIL ACTION NO. 23-0238-WB
              v.                             )
                                             )
THE CITY OF PHILADELPHIA,                    )
THE CITY OF PHILADELPHIA                     )
DEPARTMENT OF PUBLIC HEALTH,                 )
MANAGING DIRECTOR TUMAR                      )
ALEXANDER,                                   )
                                             )
                       Defendants.           )


              ORDER GRANTING EXTENSION OF TIME TO RESPOND
              TO MOTION TO DISMISS FIRST AMENDED COMPLAINT

       Pursuant to the unopposed request of Plaintiff the School District of Philadelphia, the Court

hereby grants Plaintiff an extension of time to respond to Defendants’ Motion to Dismiss First

Amended Complaint to and including August 23, 2023.

       IT IS SO ORDERED.



                                                     BY THE COURT:

                                                     /s/Wendy Beetlstone, J.

                                                     _________________________________
       Date: 5/15/23                                 Wendy Beetlestone, J.




2654516_2
